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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                  Case No. 1:16-cv-08637
 IN RE BROILER CHICKEN
 ANTITRUST LITIGATION                             Hon. Thomas M. Durkin




 This Document Relates to:

 Commercial and Institutional Indirect
 Purchaser Actions



                   DECLARATION OF ERIC SCHACHTER IN SUPPORT OF
                    MOTION FOR APPROVAL OF CLASS NOTICE PLAN

I, Eric Schachter, hereby declare as follows:

       1.      I am a Vice President of A.B. Data, Ltd.’s Class Action Administration Division

(“A.B. Data”), whose Corporate Office is located in Milwaukee, Wisconsin. A.B. Data has been

retained by the Commercial and Institutional Indirect Purchaser Plaintiffs (“CIIPPs”) to act as

Settlement Administrator in this case after a competitive bidding process in which we were asked

to submit more than one proposal. I am fully familiar with the facts contained herein based upon

my personal knowledge.

       2.      I have personally implemented and coordinated some of the largest and most
complex class action notice and administration programs in the country. The scope of my work

includes notification, claims processing, and distribution programs in all types of class actions and

related matters.

       3.      A.B. Data has been appointed as notice, claims, and/or settlement administrator in

hundreds of large consumer, antitrust, securities, ERISA, insurance, and government agency

matters. A profile of A.B. Data’s background and capabilities is included as Exhibit A.

       4.      A.B. Data’s team has specific experience in acting as Notice and/or Settlement

Administrator in high-profile antitrust class actions, examples of which are listed below.




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                                                                                 Settlement
                                    Case                                          Amount
  Sullivan et al. v. Barclays plc, et al. (Euribor Settlement),                 $491,500,000
  No. 13-cv-2811 (PKC) (S.D.N.Y.)
  In re GSE Bonds Antitrust Litigation,
  No. 1:19-cv-01704 (JSR) (S.D.N.Y)                                             $387,000,000
  Kleen Products LLC, et al. v. International Paper Company, et al.,            $354,000,000
  No. No. 1:10-cv-05711 (N.D. Ill.)
  In re EpiPen Marketing, Sales Practices and Antitrust Litigation,
  No. 17-md-02785 (D. Kan.)                                                     $345,000,000
  Laydon v. Mizuho Bank, Ltd., et al.,                                          $307,000,000
  No. 12-cv-3419 (S.D.N.Y) (Euroyen Settlements)
  In re LIBOR-based Financial Instruments Antitrust Litigation
  (Exchange-Based Action),                                                      $181,875,000
  No. 11-md-2262 (NRB) (S.D.N.Y)
  In re Polyurethane Foam Antitrust Litigation,                                 $151,250,000
  No. 1:10-md-02196-JZ (N.D. Ohio)
  Vista Healthplan, Inc., et al. v. Cephalon, Inc., et al. (Provigil),          $134,877,600
  No. 06-cv-01833 (E.D. Pa.)
  The Hospital Authority of Metropolitan Government of Nashville and
  Davidson County v. Momenta Pharmaceuticals, Inc. (Lovenox),                   $120,000,000
  No. 15-cv-01100 (M.D. Tenn)
  In re Capacitors Antitrust Litigation – All Indirect Purchaser Actions,
  No. 3:14-cv-03264-JD (N.D. Cal.)                                              $80,500,000
  In re Aggrenox Antitrust Litigation,
  No. 3:14-md-02516-SRU (D. Conn.)                                              $54,000,000
  In re Solodyn (Minocycline Hydrochloride) Antitrust Litigation,
  No. 1:14-md-2503-DJC (D. Mass.)                                               $43,000,000
  In re London Silver Fixing, Ltd., Antitrust Litigation,
  No. 14-MD-02573                                                               $38,000,000
  In re Resistors Antitrust Litigation – All Indirect Purchaser Actions,
  No. 3:15-cv-03820-JD (N.D. Cal.)                                              $33,400,000
  In re Pork Antitrust Litigation – Direct Purchaser Action,
  No. 0:18-cv-01776 (D. Minn.)                                                  $24,500,000
  In re Pork Antitrust Litigation – Indirect Purchaser Action,                  $20,000,000
  No. 0:18-cv-01776 (D. Minn.)
       5.      At the request of Interim Co-Class Counsel, A.B. Data has prepared a notice and

administration plan for Settlements reached in this litigation. This Declaration will specifically

describe the recommended, proposed notice plan, attached as Exhibit B (the “Notice Plan”), and

how it will meet the requirements of Federal Rule of Civil Procedure (“Rule”) 23 and due process

to the Settlement Class Members.

                                         NOTICE PLAN

       6.      The objective of the Notice Plan is to provide notice of the proposed Settlements

to potential Settlement Class Members.




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       7.      The Notice Plan includes direct notice via First-Class Mail and email, digital and

print paid media advertisements in food-industry publications and websites, targeted digital

advertising, and earned media via a national press release.
       8.      Direct notice via First-Class Mail and email will be effectuated primarily via a

Long-Form Notice, attached hereto as Exhibit C, and a Claim Form, attached hereto as Exhibit

D (together with the Long-Form Notice, the “Notice Packet”). A Short-Form Notice, attached

hereto as Exhibit E, will be utilized primarily in paid and earned media where applicable. These

notices will include summary information concerning the litigation and the proposed Settlements

in plain and engaging language, including: that this is a class action; the Settlement Class

definitions; that the Settlement Class alleges antitrust claims; that Settlement Class Members may

appear through an attorney; that Settlement Class Members can request exclusion or submit an

objection to the proposed Settlements; the time and manner for requesting exclusion or submitting

an objection; and the binding effect of a class judgment. In addition to the foregoing, the Plan of

Allocation, also described in the Long-Form Notice, is set forth in detail in Exhibit F. The Plan

of Allocation document will be posted on the settlement website.

                                       DIRECT NOTICE

       9.      The Notice Packet will be mailed and/or emailed to approximately 1,100,000

potential Settlement Class Members with a known mailing address and/or email address. If A.B.

Data has both a mailing address and an email address, the notice packet will be sent to both. A.B.

Data will process all mailing addresses through the national change of address (“NCOA”) database

and, using any updated information available in the NCOA database, will send the Notice Packet

directly to those potential Settlement Class Members. Further analysis will be done of any mail

returned non-deliverable after use of the NCOA database and follow up direct mail notice will be

provided where appropriate.

       10.     For many months, A.B. Data has been working with CIIPPs and their experts to

utilize purchase data provided in connection with non-party discovery conducted from food service

distributors in this action. Where this non-party data provides relevant class period purchase




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information for potential Settlement Class Members, A.B. Data will include these eligible

purchases in a pre-populated field included within the Claim Form. Though pre-populating

purchase data in Claim Forms is not appropriate in all cases, A.B. Data has found that where it is

available and reasonably administrable, it can have great benefits to a class, particularly one like

the CIIPP class in this case, by alleviating the burden on Settlement Class Members to identify and

document for themselves their eligible purchases. Settlement Class Members will also have the

option to supplement or update the pre-populated purchase information on the Claim Form, subject

to providing actual documentation of the updated purchase amount.
       11.     For the emailed Notice Packets, A.B. Data implements certain best practices when

disseminating email notice, such as not using email attachments and certain trigger words and

sending the emails in tranches over a period of days or weeks to avoid SPAM and junk filters.

A.B. Data also works closely with our technical partners, ISPs and inbox providers to avoid

suppression wherever possible.

                                          PAID MEDIA

       12.     The proposed media schedule includes print advertising in food industry

publications; banner ads on food industry websites; targeted banner ads on Google Display

Network and YouTube; and a news release disseminated via earned media. A sample banner ad is

included in the Notice Plan attached as Exhibit B.

       13.     Print and digital ads will be run in the food industry publications and/or on their

websites, listed below. These publications and websites provide direct access to individuals in

management responsible for food-related purchasing decisions and thus are very likely to include

commercial and institutional purchasers of Broilers.

       •       Food Management

       •       FoodService Director

       •       Nation's Restaurant News

       •       Progressive Grocer

       •       QSR




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       •       Restaurant Hospitality

       •       Supermarket News

       14.     Targeted digital banner ads will also be placed via the Google Display Network and

YouTube, which allows targeting to owners, managers, and staff in commercial entities that

purchase processed chicken. Websites and applications that include large percentages of the

specific target audience will be selected and programmatic buying will be utilized to ensure cost-

efficient and effective placement of the banner ads. A minimum of 20 million impressions will be

delivered over a period of 30 days.
                                        EARNED MEDIA

       15.     A.B. Data will also disseminate a news release via the PR Newswire distribution

service. This news release will be distributed to more than 10,000 newsrooms, including print,

broadcast, and digital media, across the United States. It will also be distributed to food-industry

trade publications.

                                WEBSITE AND TELEPHONE

       16.     To assist potential Settlement Class Members in understanding the terms of the

Settlements and their rights, A.B. Data will establish a case-specific toll-free telephone number

and a case-specific website.

       17.     The toll-free telephone number will be equipped with an automated interactive

voice response system that will present callers with a series of choices to hear prerecorded

information concerning the Settlements. If callers need further help, they will have an option to

speak with a live operator during business hours.

       18.     The case-specific website will provide, among other things, a summary of the case,

all relevant documents including the Settlement Agreements and Preliminary Approval Orders,

important dates, pertinent updates concerning the litigation or the Settlement approval process,

and the functionality for the Claim Form to be completed and submitted online.




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                                  EXCLUSION PROCESSING

       19.     The notices provide that Settlement Class Members may request exclusion by

sending a written, mailed request to the Settlement Administrator. A.B. Data will promptly send

the parties copies of all exclusion requests received and a report that tracks each request and

whether the required information was included.

                                          CONCLUSION
       20.     The Notice Plan described herein is estimated to deliver a reach of at least 80% of

the target audience. It is my opinion, based on my expertise and experience and that of my A.B.

Data colleagues on which I regularly rely, that the Notice Plan is designed to effectively reach

potential Settlement Class Members, will deliver plain language notices that will capture the

attention of the reader, and will provide relevant information in an informative and easy to

understand manner that is necessary to effectively understand the rights and options under the

terms of the Settlements. For these reasons, I believe this Notice Plan is the best practicable notice

under the circumstances to reach Settlement Class Members and is fully compliant with Rule 23

of the Federal Rules of Civil Procedure and due process.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.



Executed on November 24, 2021 in Milwaukee, Wisconsin.




                                                      Eric Schachter




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